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 AO 91 (REV.5/85) Criminal Complaint                                             AUSA Ann Marie E. Ursini (312) 697-4092


           10   /2021                  UNITED STATES DISTRICT COURT
               . BRUTO    N  NORTHERN DISTRICT OF ILLINOIS
     THOMA.SDG
             IS T R IC T COURT
  CLERK, U.S                      EASTERN DIVISION

 UNITED STATES OF AMERICA
                                                          CRIMINAL COMPLAINT
           v.
                                                          CASE NUMBER: 21 CR 00665
 ALFREDO VIVEROS-CHAVEZ                                   JUDGE HARJANI


          I, the undersigned complainant, being duly sworn on oath, state that the following is true and correct
to the best of my knowledge and belief. On or about May 8, 2019, at Cook County, Illinois, in the Northern
District of Illinois, Eastern Division, ALFREDO VIVEROS-CHAVEZ, defendant herein,

          being an alien who previously had been deported and removed from the United States on or
          about December 20, 2013 and March 26, 2010, was found in the United States without
          previously having obtained the express consent of the Secretary of the Department of
          Homeland Security, for reapplication by defendant for admission into the United States;

in violation of Title 8, United States Code, Section 1326(a) and Title 6, United States Code, Section 202(4).
I further state that I am a Deportation Officer with the Immigration and Customs Enforcement and that
this complaint is based on the facts contained in the Affidavit which is attached hereto and incorporated
herein.
                                                           RENEE D FALS Digitally signed by RENEE D FALS
                                                                        Date: 2021.10.28 10:33:53 -05'00'



                                                     Signature of Complainant
                                                     RENEE FALS
                                                     Deportation Officer, U.S. Immigration and Customs
                                                     Enforcement

Pursuant to Fed. R. Crim. P. 4.1, this complaint is presented by reliable electronic means. The above-named
agent provided a sworn statement attesting to the truth of the foregoing affidavit by telephone.

 Date: October 28, 2021
                                                                                            Judge’s signature

 City and state: Chicago, Illinois                         SUNIL R. HARJANI, U.S. Magistrate Judge
                                                                      Printed name and title
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 UNITED STATES DISTRICT COURT

 NORTHERN DISTRICT OF ILLINOIS

                                     AFFIDAVIT

      I, RENEE FALS, being duly sworn, state as follows:

      1.     I am a Deportation Officer with the United States Immigration and

Customs Enforcement, and have been so employed for 14 years. I am a member of an

investigative unit within ICE that specializes in the apprehension of criminal aliens.

I work in conjunction with other law enforcement agencies in reviewing cases

involving aliens who are charged with or convicted of criminal offenses. I have

received training concerning immigration-related laws, policies, and procedures,

including those related to the reentry of previously deported aliens.

      2.     This affidavit is submitted in support of a criminal complaint alleging

that ALFREDO VIVEROS-CHAVEZ has violated 8 U.S.C. § 1326(a), Reentry of

Removed Alien, by being present and found in the United States after having been

previously deported, and is subject to the enhanced penalty provision set forth in 8

U.S.C. § 1326(b)(2) because defendant previously was deported following conviction

for an aggravated felony. Because this affidavit is being submitted for the limited

purpose of establishing probable cause in support of a criminal complaint charging

defendant with illegal reentry, I have not included each and every fact known to me

concerning this investigation. I have set forth only the facts that I believe are
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necessary to establish probable cause to believe that defendant committed the offense

stated in the complaint.

      3.     This affidavit is based on my personal knowledge; information provided

to me by other law enforcement agents and officers and by other persons identified in

this affidavit; and my review of records maintained by ICE, other components of the

Department of Homeland Security, and other government agencies.

      4.     According to DHS records, defendant is a native and citizen of Mexico

and has no claim to United States citizenship or lawful residence. DHS records reflect

that defendant was born in Mexico in 1986 and originally entered the United States

at an unknown location, time or place, without inspection or admission by United

States immigration authorities.

      5.     According to records maintained by the Circuit Court of Cook County,

Illinois, on or about November 3, 2009, VIVEROS-CHAVEZ was convicted of robbery,

an aggravated felony.

      6.     According to DHS records, on or about March 26, 2010, defendant was

deported from the United States to Mexico.

      7.     According to law enforcement databases, on or about September 18,

2012, defendant was convicted of violating 8 U.S.C. § 1326(a), Reentry of Removed

Alien, by being present and found in the United States after having been previously

deported.
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      8.     According to DHS records, on or about December 20, 2013, defendant

was deported a second time from the United States to Mexico at Brownsville, Texas.

      9.     According to DHS records, defendant has not applied for or received

permission to reenter the United States.

      10.    According to records maintained by the Circuit Court of Cook County,

Illinois, on or about May 6, 2019, defendant was convicted of aggravated robbery.

      11.    On or about May 8, 2019, DHS officials learned through records checks

that the defendant was present in the United States and that he did not have U.S.

citizenship or status in the United States.

      12.    According to law enforcement databases, on or about October 18, 2021,

defendant was released from custody by the state of Illinois.

      13.    A fingerprint comparison conducted by FBI on or about October 18, 2021

has established that defendant is the same person who was deported from the United

States to Mexico on or about December 20, 2013.
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      14.   A fingerprint comparison conducted by FBI on or about October 18, 2021

has established that defendant is the same person who was deported from the United

States to Mexico on or about March 26, 2010.

FURTHER AFFIANT SAYETH NOT.
                                          RENEE D FALS   Digitally signed by RENEE D FALS
                                                         Date: 2021.10.28 10:35:01 -05'00'




                                      RENEE FALS
                                      Deportation Officer, Bureau of
                                      Immigration and Customs Enforcement


SUBSCRIBED AND SWORN to before me on October 28, 2021.


                                      SUNIL R. HARJANI
                                      United States Magistrate Judge
